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Certificate of Registration

Title

This Certificate issued under the seal of the Copyright
Office in accordance with title 17, United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has
been made a part of the Copyright Office records.

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United States Register of Copyrights and Director

Registration Number

VA 2-404-290
Effective Date of Registration:
May 25, 2024

Registration Decision Date:
July 19, 2024

Title of Work:

Completion/Publication

VA75-Prismatic Flutter

Year of Completion: 2022
Date of Ist Publication: January 26, 2022
Nation of 1° Publication; China
Author
° Author: Wenjie Xie
Author Created: 2-D artwork
Work made for hire: No
Citizen of: China
Domiciled in: China
Copyright Claimant
Copyright Claimant: Wenjie Xie =
bushalu,jinxiushanzhuang b dong,7 i,longgangqu, ShenZhen, 518100, China
Certification
Name: Wenjie Xie
Date: May 25, 2024

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